             Case 5:19-cv-00109-LGW-BWC Document 168 Filed 06/02/22 Page 1 of 1
                                      United States District Court
                                        Southern District of Georgia
                                                 Brunswick Division

        Brantley County Development
        Partners, LLC,
                    Plaintiff,                      )
                                                    )
        vs.                                         )       CASE NUMBER : CV 5:19-109
        Brantley County, Georgia, et al.,           )
                   Defendants.                      )

                                                        NOTICE

                                                          judgment was filed by : ____________________
      You are hereby notified that a motion for summary judgement                  Defendants
                                                   06/01/2022
____________________________ on _______________________________ . The motion will be submitted
for decision by the Court pursuant to the local rules. Unless you file for and are granted an extension of time to
respond, all pleadings, affidavits, and other evidence in opposition to this motion for summary judgment MUST be
                                                             06/22/22
filed with the Clerk's office ON OR BEFORE ___________________________________________(21
                                                                                       . days).

        You need to know that :
        1.     If you do not timely respond to this motion for summary judgment, the consequence may be that the
               Court will deem the motion unopposed, and the Court may enter judgment against you.
        2.     If your opponent's Statement of Material Facts sets forth facts supported by evidence, the Court may
               assume that you admit all such facts unless you oppose those facts with your own Statement of Material
               Facts which also sets forth facts supported by evidence. Also, your opponent may use its Statement of
               Material Facts to show that there is insufficient evidence to support your claims or defenses.
        3.     If
               If aa summary
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                               admissible  to rebut it with admissible evidence.
        4.     You have a right to file affidavits or other material in opposition to the motion for summary
               judgment.
        5.     Federal Rule of Civil Procedure 56 governs summary judgment motions. You should consult this rule
               as well as the Local Rules for the Southern District of Georgia, especially Local Rule 56.1.
        6.    Pursuant to Rules 5 & 6 of the Federal Rules of Civil Procedure, a response is due
              within _______
                          21 days of service.
    IF YOU DO NOT RESPOND AS DIRECTED IN THIS NOTICE, THE COURT MAY ENTER A FINAL
       JUDGMENT AGAINST YOU WITHOUT A FULL TRIAL OR ANY OTHER PROCEEDINGS.

 I certifyI certify
            that this   2nd
                      ______                     June
                               day of ________________,              2022
                                                                __________,    a correct, acopy  of this
                    that this _______    day of ____________________        , _______       correct  copynotice
                                                                                                          of thiswas  sentwas
                                                                                                                   notice
 electronically
forwarded          through
              by United      CM/ECF
                          States Mail toto all
                                           all parties
                                               partiesaffected
                                                       in this case in accordance
                                                                by this             with
                                                                        motion at the      this Court's
                                                                                      addresses          Administrative
                                                                                                   appearing  of record in this
 Procedures.
case.           I further  certify that any   party  not authorized  to receive notification   of electronic  filing has been
 sent a correct copy of this notice via US Mail.

                                             JOHN E. TRIPLETT, CLERK OF COURT
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                                                 DEPUTYCLERK
